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UN|TED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE
EASTERN DlVlSlON

UN|TED STATES OF AMER|CA

_v- 04-10089-02-T

 

JOSEPH YOUNG

Randa|l P. Salkyl CJA
Defense Attorney

266 South Front Street
Memphis, TN 38103

 

AMENDED JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count on February 11, 2005. Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section M concluded Numberjs)
Conspiracy to 21 U.S.C. § 846 08113/2004 1
|Vlanufacture and
Distribute

Nlethamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Count(s) 2, 3 and 4 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 10/81/1981 June 24, 2005
Deft’s U.S. lVlarshal No.: 18049-076

Thls document entered on the docket sheet in compliance
with sure ss major 32(b) Fnch on ~ " ’

 

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Defendant’s lVlai|ing Address:
270 JOANNE
RlPLEY, TN 38063

/A/h/J b W

 

JAM b.'T'ot)D
cHl uNlTED sTATEs olsTRlcT JuDGE

July g , 2005

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 151 i\iionths as to Count 1 of the lndictment, to be
served consecutively to the sentence imposed in U. S. District Court case no. 2:01-

CR-20285»02.

The Court recommends to the Bureau of Prisons: institution Where defendant can
participate in an intensive drug abuse treatment program.

The defendant is remanded to the custody of the United States iViarshai.

RETURN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment..
UN|TED STATES i\/|ARSHAL
By:

 

Deputy U.S. i\/|arsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1 of the indictment

The defendant shall report to the probation office in the district to Which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use cfa controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘iO) days prior to any change in residence or
employment
6. The defendant shall refrain frorn the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or othercontrolled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shaii notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crirninai ivionetary Penaities sheet of thisjudgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for
substance abuse as directed by the United States Probation Office .

2. The defendant shall participate in the coliection of DNA as directed by the United States
Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Totai Fine Totai Restitution

$100.00

The Special Assessment shall be due immediately.

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FiNE
No fine imposed
REST|TUT|ON

No Restitution was ordered.

ISTRICT COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
ease 1:04-CR-10089 Was distributed by faX, mail, or direct printing on
July l 1, 2005 to the parties listed.

 

 

Randali P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

i\/lemphis7 TN 38103

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highiand Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

